            Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 1 of 21



                           UNITED STATESDISTRICT COURT
                             DISTRICTOF CONNECTICUJ.,,
                                                            FILiD
                                      ruRY)h#:&r zs Pn 't ts
                                   GRAND

LTNITEDSTATESOF AMERICA                            .fi'fu#tfidp:8{e{-(--l
       v.                                         VIOLATIONS:
                                                  15U.S.C.$$ 78j(b),78ff [Securities
                                                                                   Fraud]
JESSEC. LITVAK                                    18U.S.C.$ 1031[TARPFlaud]
                                                  18U.S.C.$ 1001[FalseStatements  to the
                                                  Government]

                                       INDICTME]IT

       The GrandJury chargesthat at all timesrelevantto this Indictqent:

                                       The Defendant

       1.      DefendantJESSEC. LITVAK, a licensedsecuritiesbroker,residedin the Stateof

New York andwasa seniortraderandmanagingdirectorat Jefferies& Co.,Inc. (referredto

hefeinas"Jefferies"). LITVAK washiredby Jefferieson or aboutApril 14,2008andwas

tEnainatedon or aboutDecember21,2011.

       2.      Jefferiesis a broker-dealer
                                         registeredwith the SecuritiesandExchange

Commission("SEC") anda FinancialIndustryRegulatoryAulhoglty("FINRA") memberfirm.

Jefferiesis a globalsecuritiesandinvestmentbankingfirm, with headquarters
                                                                       in New York.

Jefferiesalsohasa tradingfloor in Stamford,ConnecticutwhereLITVAK andothermembersof

its MortgageandAsset-BackedSecuritiesTradinggroupworked.

       3.      LITVAK specializedin tradingcertaintypesof residentialmortgage-backed

securities("RMBS"), which aresecuritieswithin the meaningof the federalsecuritieslaws.

                                   The Victim-Customers

      4.       LITVAK's victims areknown by the GrandJury to havebeencertainof Jefferies'

customers.
              Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 2 of 21



         5.       LITVAK's victim-customers
                                          includedfrrndsestablished
                                                                  by the United States
 Departmentof Treasury'sLegacySecuritiesPublic-PrivateInvestmentprogram(..pplp"). pplp

 was,andis, a part of the United StatesGovernment'sTroubledAssetReliefprogram(,.TARp'),

 the Governmentbailoutplan createdin 2009in responseto the financialcrisis.

         6.       In March 2009,Treasuryannounced
                                                the creationof PPIP,the purposeof which

wasto purchasecertaintroubledreal estate-related
                                               securities,includingtypesof RMBS, f.rom

financialinstitutionsto allow thosefinancialinstitutionsto freeup capitalandextendgew credit.

       7.        Beginningin late 2009,the Governmentusedmorethan$20 billion of bailout

moneyfrom TARP to fund Public-PrivateInvestmentFunds("PPIFs"),which woqld purchase

the troubledsecurities.The Governmentmatchedeverydollar of privateinvestmentin a ppIF

with onedollar of equityandtwo dollarsof debt. Thus,75o/o
                                                        of eachPPIF'smoneyconsistsof

taxpayerfundsdisbursedby the Govemmentaspart of its bailoutplanthroughTARP.

       8.        EachPPIFwasestablished
                                      andmanagedby a LegacySecuritiespplp fund

manager(a "PPIF Manager")selectedby the Deparhnentof Treasury.EachPPIFManager

owedfiduciarydutiesto the investorsthat contributedmoneyto its PPIF,which wasprimarily

the Government.

       9.        EachPPIFreceivedbetweenapproximately
                                                   $1.4billion to $3.7billion of bailout
money.

       10.       Underthe rulesof PPIP,a PPIFcould buy or sell only certaintypesof RMBS,

includingthe typesof RMBS that LITVAK specializedin.

       11.       The following six PPIFsareknown by the GrandJuryto havebeenLITVAK's

victim-customers
               (eacha "TARP-FundedVictim'):




                                             -2-
           Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 3 of 21



                      a.    AG GECCPPIFMasterFund,L.P. (PPIFManager:Angelo,Gordon&

Co.,LP);

                      b-    AllianceBernstein
                                            LegacySecuritiesMasterFund,L.P. (PPIFManager:

AllianceBernstein,
                LP);

                   c.       BlackRockPPIF,L.p. (ppIF Manager:BlackRock,Inc.);

                   d-       InvescoLegacySecuritiesMasterFund,L.P. (PPIFManager:Invesco

Ltd.);

                   e.      RLJ WestemAssetPublic/PrivateMasterFund,L.P. (PPIFManager:RLJ

WesternAssetManagement,
                     LLC); and

                 f.        WellingtonManagement
                                              LegacySecuritiesPPIFMasterFund,LP (PpIF

Manager:WellingtonManagement
                           Company,LLp).

         12.     In addition,the following non-PPIPentitiesor their affiliates,or fundsor entities

managedby or affiliatedwith them,areknownby the GrandJuryto alsohavebeenLITVAK'S

victim-customers
               (eacha "Privately-Funded
                                      Victim',):

                a.         DE Shaw& Co.:

                b.         DW InvestmentManagement
                                                 LP;

               c.          EBF & Associates:

               d.          MagnetarCapital;

               e.          MFA Financial,Inc.;

               f.          Monarch Alternative Capital;

               o
               tf,'        Oak Hill Capital;

               h.          Pine River Capital Management;

               i.          Putnam Investments:




                                                 -3-
          Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 4 of 21



                J.      QVT Financial;

                k.      Red Top Capital lnvestments;

                l.      SorosFund ManagementLLC;

                m.      Third Point LLC; and

                n.      York CapitalManagement,
                                             LLC.

                                       OthqrRelevantPersons

        13.     Supervisor#1 is known by the GrandJuryto havebeenoneof LITVAK's

supervisors
          at Jefferies.

                                           RMBS Tradine

        14.     RMBS arebondscomprisedof largepoolsof residentialmortgagesandhome

equityloans. The RMBS ownersreceivepaymentson a monthlybasis-based
                                                                 on repayments

from the homeowners
                  that took out the mortgagesor loans,until thehomeowners
                                                                        repaytheir

debt,refinanceor default. Unlike stocks,RMBS bondsarenot publicly tradedon an exchange,

suchastheNew York StockExchangeor NASDAQ, andpricing informationis not publicly-

available.Instead,buyersandsellersofbonds usebroker-dealers,
                                                          like Jefferies,to execute

individuallynegotiatedtransactions.

        15.    Theunit at Jefferiesthat handlesRMBS tradingis known asthe Mortgageand

Asset-Backed
           Securitiesgroup,which employstradersandsalespeople.In general,a trader,like

LITVAK, specializes
                  in particularkinds of RMBS or "sectors,"while a salesperson
                                                                            is

responsible
          for certaincustomersor "accounts."

        16.    RMBS bondstypically aresoldin threeways:

                       from a broker-dealer's
                                            inventory,in which the broker-dealer
                                                                               like Jefferies

is selling a bond that it has owned for a period of time;



                                                -4-
          Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 5 of 21



              b.      asan order,in which the sellercommissionsthe broker-dealer
                                                                               to seeka

buyer,or the buyercommissions
                            the broker-dealer
                                            to seeka seller,for a particularbond;or

              c.      aspartof a "bid list" or'.BWIC" ("bidswantedin competition"),
                                                                                 in which

the sellercirculatesa list of specificbondsit is interestedin sellingsothat the broker-dealer
                                                                                            may

seeka potentialbuyerwilling to negotiatetermsfor the trade.

       17.    Ordersandbid list tradesareconsidered"riskless"tradesfor broker-dealers
                                                                                    like

Jefferiesbecausein thosetransactions
                                   broker-dealers
                                                merelyact asmatch-makers,
                                                                       servingasa

conduitfor a bondto passfrom a sellerto a buyer.

       18.    In ordersandbid list trades,thebuyerandthe sellerdo not know eachother's

identity,but communicateexclusivelythroughthe broker-dealer's
                                                            tradersandsalespeople.

       19.    Buyersattemptto purchasebondsat the lowestprice availablein the market,and

sellershy to sell bondsat the highestprice available.This is called"bestexecution."Wherea

buyerdoesnot obtainbestexecution,its investrnentwill be lessprofitablethanit would have

beenotherwise.

       20.                    profit, if any,on a setof tradesis the differenceor "spread"
              A broker-dealer's

betweenthe price it paysthe sellerandthe price it chargesthe buyer. In the bondindustry,

pricesaremeasuredin l/32s of a dollar, commonlyreferredto as"ticks." For instance,if a

broker'dealerbuysa bondfor $65.25(meaning$65.25per $100of currentfacevalue),theprice

                 as"65 dollarsand 8 ticks," "65 and8" or "65-8." If the broker-dealer
would be expressed                                                                  then

sellsthatbondfor $65.50(rneaning
                               $65.50per $100of currentfacevalue),thepricewouldbe

                                                                          profit on
        as"65 dollarsand 16ticks,""65 and 16,"or "65-16." Thebroker-dealer's
expressed

this setof tradeswould be $0.25per $100of currentfacevalue,or 8 ticks.




                                             -5-
          Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 6 of 21



        21.    A customercancompensate
                                     a broker-dealerfor a tradein oneof two ways,either

 on an'oall-in"or an "on-top"basis.

              a.     In an "all-in" trade,the buyeragreesto a price withoutreferenceto the

pricethe broker-dealer
                     paid to the seller;the spreadbetweenthe amountpaid by the buyerand

the amountpaid to the selleris the broker-dealer'scompensation.

              b.     In an "on-top" ttade,the buyerandthe broker-dealer
                                                                      agreeon a specific

amountthat is addedto the pricethe broker-dealer
                                               paid to the seller;in otherwords,the broker-

dealer'scompensation
                   is a commissionaddedto the costof the bond.

       22.    Inventorytradesareusually"all-in" transactions,
                                                           while bid lists are"on top"

trades,andorderscanbe eitherdependingon what the broker-dealer,
                                                             buyerandsellernegotiate.

                                 Jefferies'Codesof Conduct

       23.    Jefferiesmaintained(i) a Codeof Ethics,(ii) ComplianceandSupervisory

PoliciesandProcedures
                    for Mortgage& Asset-BackedSecuritiesSalesandTradingPersonnel,

and(iiD Complianceand SupervisoryPoliciesandProcedures
                                                     for FixedlncomeSalesand

TradingPersonnel.

       24.    In the sectionentitled"Fair Dealing,"Jefferies'Codeof Ethicsstatedthat

"ft]aking unfair advantageof anyonethroughmanipulation,concealment,
                                                                 abuseof privileged

information,misrepresentation
                            of materialfacts,or any otherunfair dealingpracticeis a

violationof the Code."

       25-    Both the Complianceand SupervisoryPoliciesandProcedures
                                                                    for Mortgage&

Asset-Backed
           SecuritiesSalesandTradingPersonnelandthe ComplianceandSupervisory

PoliciesandProcedures
                    for Fixed IncomeSalesandTradingPersonnelincludethe following

statement:"Tradersshouldbearin mind that the anti-fraudprovisionsof the ExchangeAct and



                                            6-
         Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 7 of 21



the bestexecutionprovisionsof FINRA-NASDrulescontinueto applyto all securities

transactions,
           regardlessof the customer'sstatus,andthat tradingthat is suggestive
                                                                             of abusewill

not bepermitted."

       26.    Beforeandduringthe actsallegedin this Indictment,LITVAK completed

acknowledgement
             formscertiffing that he had "read,understood,
                                                         compliedandagree[d]to

complywith" thesepolicies.



                             COUNTSONE throughELEVEN
                                  SecuritiesFraud
                                 1su.s.c.$$78j(b),
                                                78ff
                                 The SchemeandArtifice

       27.   The allegationssetforth in paragraphsI through26 of this Indictmentare

reallegedandincorporatedasthoughfully setforth herein.

       28.   Beginningin approximately2009andcontinuinguntil approximately
                                                                         December

2011,theprecisedatesbeingunknownto the GrandJury,in the District of Connecticutand

         LITVAK knowingly andwillfully, directly andindirectly,by the useof r.neans
elsewhere,                                                                        and

instrumentalities
                of interstatecommerceandof the mails,in connectionwith the purchaseand

saleof RMBS, would anddid useandemploymanipulativeanddeceptivedevicesand

contrivances
           in violalionof Title 17,Codeof FederalRegulations,
                                                           Section240.10b-5
                                                                          by

(i) employingdevices,schemesandartificesto defraud,(ii) makinguntruestatements
                                                                             of material

factsandomittingto statematerialfactsnecessary
                                             to makethe statements
                                                                 madenot misleading

in the light of the circumstances
                                underwhich they weremadeand(iii) engagingin acts,practices

andcoursesof businesswhich would anddid operateasa fraudanddeceiton purchasers
                                                                             and

sellersof suchRMBS.



                                          -7 -
         Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 8 of 21



       29.    As a resultof this scheme,LITVAK causedvictim-customers
                                                                    to sustainlossesof

morethan$2,000,000.

                               Purposeof the SchemeandArtifice

       30.    A purposeof LITVAK's schemewasto enrichJefferiesandhimselfby using

materiallyfalseandfraudulentmisrepresentations
                                            andomissionsto takesecretandunearned

compensation
           from TARP-FundedVictims andPrivately-Funded
                                                     Victims on RMBS trades.

       31.    LITVAK's supervisorsat Jefferies,includingSupervisor#1, established
                                                                                and

communicated
           specificannualprofit goalsfor the MortgageandAsset-Backed
                                                                   Securitiesgroup.

As LITVAK knew,his individualtradingrevenuewastrackedby his supervisors
                                                                      andsteadily

declinedeachyear-from a profit of morethan$40,000,000
                                                    in 2009to a lossof morethan

         in 2011.
$10,000,000

       32.    LITVAK's schemeincreasedtheprofitability of his trades.For example,on or

aboutJwrc22,2011,LITVAK corresponded
                                   with a traderat anotherbroker-dealer
                                                                      firm abouta

RMBS bondbeingofferedvia a bid list. The approximate"on-top" compensation
                                                                        a broker-

dealercanexpecton a bid list transactionis betweenfour ticks andeightticks (between4132s

and 8/32sper $100of the bond'scurrentfacevalue). In discussingthe pricethat LITVAK

hopedto inducea specificTARP-FundedVictim to pay for this bid list bond,LITVAK wrote"f

this 4 - 8/32sht [sic]," to which the othertraderresponded,
                                                          "that doesntfeedanyone."

                        MannerandMeansof the SchemeandArtifice

        The mannerandmeansby which LITVAK soughtto accomplishthe scheme

 included,amongothers,the following:

       33.    In certain order and bid list transactions:




                                              -8-
           Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 9 of 21



                       where the buying victim-customer had agreedupon a specified

commission "on top" of the price that Jefferieshad negotiatedwith the seller of a RMBS bond,

LITVAK would and did misrepresentto the buyer the price Jefferieshad agreedto pay the seller,

providing Jefferieswith an extra and uneamedprofit at the buying victim-customer's expense;

and

               b.     where the selling victim-customer had agreedupon a specified

commission to be deductedfrom the price at which Jefleries had negotiatedto sell a RMBS

bond, LITVAK would and did misrepresentto the seller the price the buyer had agreedto pay to

Jefferies,providing Jefferieswith an extra and unearnedprofit at the selling victim-customer's

expense.

       34.     In certain salesof bonds from Jefferies' inventory, LITVAK would and did

misrepresentto the buying victim-customer that the transactionwas an order or bid list trade

requiring "on top" compensation,providing Jefferies with an extra and unearnedprofit at the

buying victim-customer's expense.

       35.    LITVAK perpetratedthis schemeby the use of meansand instrumentsof

interstatecofilmerce and the mails in various wavs:

              a.      LITVAK used electronic communicationswith victim-customers,

including telephone,email, instant messagesand electronic group "chats," to communicatefalse

statementsand misrepresentationswith the intent and purposeof soliciting and negotiating

fraudulent RMBS bonds trades:

              b.      LITVAK sent and causedto be sent to victim-customerstrade

confirmations or tickets documenting fraudulent transactions;and




                                              -9-
         Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 10 of 21



               c.     LITVAK causedvictim-customers
                                                  to wire fundsto Jefferies.andJefferies

to wire fundsto victim-customers,
                               to pay for fraudulenttransactions.

                                Misrepresented
                                             Prices

       36-     It waspart of the schemethat LITVAK would defraudvictim-customers
                                                                               buying

RMBS bondsin bid list andordertrades,wherethe victim-customers
                                                             agreedto pay Jefferies

specificarnountsof compensation
                              "on top" of the pricespaid to the sellers,by misrepresenting

the acquisitioncoststo be higherthanthe pricesactuallypaid by Jefferiesto the sellers,

fraudulentlyincreasingJefferies'compensation
                                           on the transactions.

       37.     For instance,on or aboutMarch 31,20t0, LITVAK executedhis schemein

connectionwith the purchaseby the PPIFManagerfor the AllianceBemsteinLegacySecurities

MasterFund,L.P. of two RMBS bonds,HVMLT 2006-102[l{(the             "HarborViewBond") and

LXS 2007-l5N2A1 (the"LehmanBond"),asfollows:

               a.    On March 31,2010at approximately10:32a.m.,the sellerplacedan order

with Jefferiesto sell thesetwo bonds. The seller'sofferingprice at that time was58 on the

HarborViewBond and57 on the LehmanBond.

               b.    At approximately10:49a.m.,LITVAK approached
                                                               the PPIFManagerfor

the AllianceBernstein
                    LegacySecuritiesMasterFurd, L.P. aboutbuyingthesebonds,writing

"wantedto give you first crackon em." The PPIFManageraskedfor details,andLITVAK

responded                the seller'sofferingpricesas59 on the HarborViewBond (instead
        by misrepresenting

of the actualofferingprice of 58) and58-16on the LehmanBond (insteadof the actualoffering

priceof 57).

               c.                       11'21a.m.and 11:42a.m.,LITVAK andthe PPIF
                     Betweenapproximately

Managerspokeby telephone.



                                            -10-
         Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 11 of 21



                d'        At approximatelyll.42 a.m., LITVAK electronicallycommunicatedwith

 Supervisor#1 as follows:

               alliancejust bid me 58 on the 06-I 0s [the Harborview Bond]. . ..i
               know he will pay us 4132s  if i tell him we haveto pay 5g-I 6. . .. he
               alsobid us 57-16on thelxs [theLehmanBond]....i um thinkingof
               tellinghim thatonehasto be 58-8cuz its oneof thebiggerott......

[Ellipsesin original.]

               e.        At approximately                  #l repliedto LITVAK ,,boom!
                                        11:48a.m.,Supervisor

tell me whento go in." In this context,"tell me whento go in" meiurswhenSupervisor#l

shouldintercedeto buy the bondsfrom the seller.

               f.        At approximately
                                        12.45p.m.,Supervisor
                                                           #1 electronically
                                                                           communicated

with the sellerto confirmJefferieswasbuyingthe HarborViewBond for 57-16andthe Lehman

Bondfor 56-16. Supervisor#1 thendescribedthesepricesto LITVAK as"layups."

               g.        At approximately12:45p.m., LITVAK misrepresented
                                                                        the stateof

negotiationswith the sellerto the PPIFManager:

               ok big man....hereis whati got from him.. .i beathim up pretty
               good.....butthis is whathe camebackwith:
               he will sellto me 20mmorig of hvmlt 0610@ 58-00
               but he is beingharderto knockbackon the lxs bonds...saidthathe
               thinksthatoneis muchcheaperyadayadayada....he       told me he
               wouldsellthemto me at 58-8(30mmorig)......iwouldbe fine
               working skinnieron these2....but think you aregettinggood
               levelson these.. ..letme knowwhatyou wantto do big man.. ..

[Ellipsesin original.]

              h.         At approximately
                                        I :14p.m.,the PPIFManagerresponded
                                                                         by inquiring

whetherthesewould be "all-in" or "on-top" trades,asking"is he [the seller]payingu or am i?"

              i.         At approximately1:21p.m., LITVAK respondedwith additional

misrepresentations:




                                              - 11-
          Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 12 of 21



                all the levelsi put in this fchat]roomarelevelshe wantsto sell to
                me...i triedto beathim up so i couldgettheselevelsto
                you.......butthosearethelevelshewantsto sellto me...i will
                work for whateveryou wanton these...

 [Ellipsesin original.]
               j.         The PPIFManagerrepliedback"gonnafinish lunchfirst thenre-runit

 all," andat approximatelyI :24 p.m, LITVAK repeatedandsummarized
                                                                his earlier

misrepresentations:

               soundsgood.....soto recapthelevelshe is offeringto me:
               hvmlt06-102ala(20mmorirg@ 58-00
               lxs 40mmorig at 58-8

[Ellipsisin original.]

               k.         At approximately1:45p.m.,LITVAK told the PPIFManager"bot em,"

indicatingthat LITVAK hadpurchased
                                 the HarborViewBondandthe LehmanBond. The ppIF

Managerrepliedby proposingJefferiesnot receiveany compensation
                                                             on (or "wash")the smaller

HarborViewBondtradeand addfive ticks ascompensation
                                                  on the LehmanBondtrade.

Approximatelyoneminutelater,T.ITVAK responded,,thats
                                                  fine."

       38.     The AllianceBemsteinLegacySecuritiesMasterFund,L.P. paid approximately

$7,000,000for the HarborViewBond andapproximately$20,000,000
                                                           for the LehmanBond.

       39.     The sellerdid not offer to sell the HarborViewBondfor 59, asLITVAK

misrepresented
             to the PPIFManagerfor the AllianceBernstein
                                                       LegacySecuritiesMasterFund,

L.P. In truth andin fact, asLITVAK knew,the seller'soffer wasactually5g.

       40.    The sellerdid not offer to sell the LehmanBond for 58-16,asLITVAK

misrepresented
             to the PPIFManager.In truth andin fact,asLITVAK knew,the seller'soffer

wasactually57.




                                               t2
         Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 13 of 21



       41.    LITVAK did not communicate
                                       to the sellerthe PPIFManager'sbidsmade

betweenapproximately
                   11;21a.m.and 11:42a.m.,asLITVAK misrepresented
                                                               to theppIF
Manager' In truth andin fact,asLITVAK knew,all his statements
                                                            aboutthe seller'sreactionto

thosebidswerefalse.

       42.    WhenLITVAK electronicallycommunicated
                                                  with the PPIFManagerafter

approximately
            12:50p.m.,the sellerwasno longerseeking58 for the HarborViewBondor 58-8

for the LehmanBond,asLITVAK misrepresented
                                         to the PPIFManager.In truth andin fact,as

LITVAK knew,the sellerhadalreadyagreedto acceptlower prices.

       43.    Jefferiesdid not pay the seller58 for the HarborViewBond,asLITVAK

misrepresented
             to the PPIFManager.In truth andin fact,asLITVAK knew,Jefferiespaid 57-

t6.

       44.   Jefferiesdid not pay the seller58-8for the LehmanBond,asLITVAK

misrepresented
             to the PPIFManager.In truth andin fact,asLITVAK knew,Jefferiespaid 56-

16.

       45.   Jefferiesdid not work without compensation
                                                      on the HarborViewBondtrade,as

LITVAK misrepresented
                    to thePPIFManager.In truth andin fact,asLITVAK knew,on this

risklesstrade,LITVAK took l6 ticks ascompensation
                                                for Jefferies,or approximately$60,000.

       45.   Jefferiesdid not work for five ticks of compensation
                                                                on the LehmanBondtrade,

or approximately$50,000,asLITVAK misrepresented
                                              to the PPIFManager.In truth andin fact,

as LITVAK knew,on this risklesstrade,LITVAK took 61 ticks ascompensation
                                                                       for Jefferies,or

approximately
            $650,000.




                                         -13-
          Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 14 of 21




        47'    It wasfurtherpart of the schemethat LITVAK would defraudvictim-customers

 buyingRMBS bondsheld in Jefferies'inventoryby misrepresenting
                                                             thoseasordersandbid list
 tradeswith compensation
                       for Jefferies"on-top,"takingincreasedandunearnedprofits because,

 on inventorytransactions,
                        broker-dealers
                                     arenot entitledto extracompensation
                                                                       in additionto the
 pricepaid. By doingthis, LITVAK falselyportrayedhimselfto victim-customers
                                                                          astheir ally in
 negotiationsagainstnon-existentsellers,ratherthan admiuingthathe was,in fact,negotiating

 directlyagainsthis victim-customers.

        48.    To effecthis scheme,LITVAK would inventa fictitioussellerfor a bondthat

 Jefferiesalreadyhadin its inventoryandwasseekingto sell to a victim-customer.LITVAK

would thenfalselydescribethe fictitious seller'sofferingprice andreactionto LITVAK,s

negotiatingtactics.

       49.    For instance,on or aboutDecember23,2}}1,LITVAK executedhis schemein

connectionwith the purchaseby the PPIFManagerfor the WellingtonManagement
                                                                        Legacy
securitiesPPIFMasterFund,LP of theRMBS bondwFMBS 2006-ARl2 1Al (the..wells

FargoBond"), asfollows:

              a.       On or aboutDecember14,2009,LITVAK paid70 (meaning$70per $100

of currentfacevalue)for the Wells FargoBond,with an originalfacevalueof $6,230,000,for

Jefferies'inventory.

              b.       On or aboutDecember18,2009,LITVAK first offeredto sell Jefferies'

Wells FargoBondto the WellingtonManagement
                                         LegacySecuritiesppIF MasterFund,Lp.

LITVAK misrepresented
                    that he hadan orderfrom a third party seller,writing,.i havea guy that

has6+mmorig of wfmbs06-arl2 1al...my guy wouldsellto me at 77....
                                                                     [ellipsesin original.]"



                                           -14-
          Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 15 of 21



 The PPIF Manager bid74, and LITVAK respondedby describing his communicationswith the

 fictitious seller:

                  i will reflect that in big man and seewhat he says....
                 at this point...he really wants me to work it longer (i just got the
                 bondsthis am to work)....so he actually gave me the ol 'Just keep
                 working em at 77" rap.....didnteven give me any room off
                 77.....fckfsic)
                 he appreciatesit...but has some internal conversationsabout where
                 he told them he can sell it and at75 he would not be looking good
                 internally is what he said....
                 i thought i could work him over...but he is kind of being a weenie

 [Ellipses in original.]

                 c.        On or aboutDecember23,2009 at7:46 a.m.,LITVAK approachedthe

PPIF Manager for the Wellington ManagementLegacy SecuritiesPPIF Master Fund, LP again,

asking for information about anothertrade and suggesting"maybe i can use that as leverageto

go beat the guy up that owns the 06-arl2 1al bonds.. ..as of last nite it soundedlike he was

starting to warm up to the idea of coming off his level [ellipsis in original]."

                d.         At approximately 7:48 a.m., the PPIF Manager expressedinterest, asking

"what's the current size and offer on the 06-ar12 lal again?" Approximately one minute later,

LITVAK responded"it's 3+mm currentand he was offering them at77..... [ellipsis in original.]"

                e.         At approximately 8:14 a.m., LITVAK updatedthe PPIF Manager by

making further misrepresentationsabout the fictitious seller, writing "he is still red-

dotted.. . .usually rolls in around now. . . ..so should know soon brotha.. . .. [ellipses in original.]"

("Red-dotted" in this context meansthat the fictitious seller was unavailableto participate in

electronic communications.)

                f.         At approximately 8:46 a.m., LITVAK misrepresentedto the PPIF

Managerthat he had concluded negotiationswith the seller at a price that would result in a four-

tick profit to Jefferies,writing "winner winner chicken dinner......he is gonnasell em to me at

                                                  -15
         Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 16 of 21



 75-28asi told him to not get cuteandjust sell the bondsso you canown themat 76.. ..hesaid

 cool..... [ellipses
                   in original.]"

        50.    The WellingtonManagement
                                      LegacySecuritiesPPIFMasterFund,Lp paid

 approximately$2,300,000for the Wells FargoBond.

        51.    LITVAK did not engagein anynegotiationsor communications
                                                                      with the sellerof
Wells FargoBondon December23,2009,asLITVAK misrepresented
                                                        to the ppIF Manager.In

truth andin fact,asLITVAK knew,therewasno third party seller,sinceJefferiesalreadyowned

the Wells FargoBond.

        52.    Jefferiesdid not purchasethe Wells FargoBond from a third party selleron

December23,2009,asLITVAK misrepresented
                                     to the PPIFManager.In truth andin fact, as

LITVAK knew,Jefferiespurchased
                             that bondnine daysearlier,on or aboutDecember14,2009.

        53.    Jefferiesdid not pay the seller75-28for the Wells FargoBond,asLITVAK

misrepresented
             to the PPIF Manager. In truth andin fact, asLITVAK knew, Jefferiespaid 70 or

approximately$2,I 00,000.

       54.     Jefferies'profit on this setof transactions
                                                         wasnot four ticks, or approximately

$3,800,asLITVAK misrepresented
                             to the PPIFManager.In truth andin fact, asLITVAK

knew,Jefferies's
               profit was 192ticks,or approximately
                                                 $185,000.

                                        The Securities

       55.    Beginningin approximately2009andcontinuinguntil approximatelyDecember

2011,theprecisedatesbeingunknownto the GrandJury,in the District of Connecticutand

elsewhere,
         DefendantJESSEC. LITVAK knowinglyandwillfully, directlyandindirectly,by the

useof meansandinstrumentalities
                              of interstatecorlmerceandof the mails,in connectionwith

thepurchaseandsaleof securities,to wit, the RMBS setforth below,would anddid useand



                                            -16-
          Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 17 of 21



 employ manipulative and deceptivedevices and contrivancesin violation of Title 17,
                                                                                    Code of

 Federal Regulations,Section 240.l}b-5 by (i) employing the aforementioneddevices,schemes

 and artifices to defraud, (ii) making untrue statementsof material facts and omitting to state

material facts necessaryto make the statementsmade not misleading in the light of the

circumstancesunder which they were made and (iii) engaging in acts,practicesand coursesof

businessthat would and did operateas a fraud and deceit on purchasersand sellers of such

securitiesas set forth below, each constituting a separatecount of this Indictment:


              Count           Trade Date                        Security
                                                       FIVMLT 2006-102AIA
                 I              3/3r/r0
                                                          (HarborViewBond)
                                                         LXS 2007-l5N2Al
                 2              3/3Ur0
                                                            (LehmanBond)
                 a
                 J              6t22/tl                 HVMLT 2OO7-7
                                                                  2AIA
                 4              7/t/t0                   SARM 2005-2t 7Al
                                                      WFMBS2OO6.ARI2   1AI
                 5             12123109
                                                       (Wells FargoBond)
                6               5/28/09                 INDX 2OO7-AP(7
                                                                    2A1
                7               L2/9t09                    NYMT 2005.2A
                8               l17/t0                 DLSA 2OO6-ARI
                                                                   2AIA
                9              3/29/10                 cwALT 2006-0431A1
                l0              4 l I/1 0                LXS 2007-15N
                                                                    2A1
                1l             tU22n0                 FHAMS2OO5-AAIO
                                                                   2AI


       All in violationof Title 15,UnitedStatesCode,Sections78j(b) andTTff,andTitle 18,

United StatesCode.Section2.




                                                t7-
         Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 18 of 21



                                     COTINTTWELVE
                                        TARP Fraud
                                      1 8U . S . C$. 1 0 3 1
       56.    The allegationssetforth in paragraphsI through26 and28through54 of this

lndictmentarereallegedandincorporatedasthoughfully setforth herein.

       57.    Beginningin approximatelyDecember2009andcontinuinguntil approximately

December2011,in the District of Connecticutandelsewhere,DefendantJESSEC. LITVAK

deviseda schemeandartifice to defraudthe United Statesandto obtainmoneyandpropertyby

meansof falseandfraudulentpretenses,
                                  representations
                                               andpromisesin connectionwith grants,

contracts,subcontracts,
                     subsidies,loans,guarantees,
                                              insuranceandotherformsof Federal

assistance-includingTARP, an economicstimulus,recoveryor rescueplan providedby the

Government,andthe Government'spurchaseof troubledassetsasdefinedin the Emergency

EconomicStabilizationAct of 2008-the valueof suchFederalassistance.
                                                                 or anyconstituent

partthereofbeingin excessof $1,000,000.

       58.    On or aboutthe following dates,in the District of Connecticutandelsewhere,

defendantLITVAK knowingly executedand attemptedto executethe aforementionedscheme

and artifice with the intent to defraudthe United Statesandto obtainmoneyandpropertyby

meansof falseandfraudulentpretenses,
                                  representations
                                               andpromisesin connectionwith such

Federalassistance
                in the following RMBS bondtransactions
                                                     with a TARP-FundedVictim:

             a.     the March 31,2010saleof the HarborViewBondto AllianceBernstein

LegacySecuritiesMasterFund,L.P.;

             b.     the March 31,2010saleof the LehmanBondto AllianceBemsteinLegacy

SecuritiesMasterFund.L.P.:

             c.     theJune22,2011saleof the HVMLT 2007-72AlLbond to

AllianceBernstein
                LegacySecuritiesMasterFund,L.P.;

                                           -18-
         Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 19 of 21



                d.     &e July 1,2010saleof the SARM 2005-217A1bondto InvescoLegacy

Securities
         MasterFund.L.P.:and

                e.     the December23,2009saleof the WellsFargoBondto Wellington

ManagementLegacySecuritiesPPIFMasterFund,Lp.

        All in violationof Title 18,united statescode, Sections1031and2.



                            COUNTSTHIRTEENthroughSIXTEEN
                              FalseStatements
                                           to the Government
                                         l8 u.s.c.$ 1001
        59.    The allegations set forth in paragraphsI through 26 and28 tfurough54 of this

Indictment are realleged and incorporatedas though fully set forth herein.

       60.     On or about the following dates,in the District of Connecticutand elsewhere,

LITVAK, in a matter within the jurisdiction of the United StatesDeparhnentof Treasury,a

departmentand agency of the United States,did knowingly and willfully make and causeto be

made a materially false, fictitious, and fraudulent statement and representation to a PPIF

Manager for a TARP-Funded Victim, each statementset forth below constituting a separate

count of this lndictment:




                                              -19-
       Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 20 of 21




            Date of
Count                       Recipient             False Statement                Correct Fact
           Statement

                         Traderat PPIF      "[S]o to recapthe levelshe     Jefferieshad already
                           Managerfor       is offeringto me:              negotiatedwith the seller
 l3        3 t3 1 /t0   AllianceBernstein   hvmlt 06-102ala(20mm           to purchasethe
                        LegacySecurities    orig) [the HarborView          HarborView Bond at 57-
                        MasterFund,L.P.     Bondl @ 58-00."                16.
                         Traderat PPIF
                                            "[S]o to recapthelevelshe      Jeffeqieshad already
                           Managerfor
l4         3/3t/10                          is offeringto me: ...          negotiatedwith the seller
                        AllianceBernstein
                                            lxs 40mmorig [the              to purchasethe Lehman
                        LegacySecurities
                                            LehmanBondl at 58-8."          Bond at 56-16.
                        MasterFund,L.P.
                     Traderat PPIF          "[H]e is gonna sell em to
                      Managerfor            me at75-28 as i told him       Jefferieshadactually
                       Wellington           to not get cute andjust sell   purchased the Wells
l5         t2/23/09   Management            the bonds so you can own       FargoBond in question
                    LegacySecurities        them [the Wells Fargo          on December14,2009at
                    PPIFMasterFund,         Bondl at76....hesaid           70.
                         LP                 cool."

                                         In electronicchatbetween
                                         LITVAK andseller
                         Traderat PPIF   forwardedto traderat              In originalelectronicchat
                          Managerfor     PPIFManagerfor lnvesco            betweenLITVAK and
l6         6/24/r0      InvescoLegacy. LegacySecuritiesMaster              seller,chatreflected
                        SecuritiesMaster Fund,L.P., LITVAK                 Jefferies'actualpurchase
                           Fund,L.P.     alteredchatin original            priceof 79-24.
                                         message  to showJefferies'
                                         purchasepriceof "79-26."

      All in violationof Title 18,UnitedStatesCode,Sections1001and2.




                                             - 20 -
      Case 3:13-cr-00019-JCH Document 1 Filed 01/25/13 Page 21 of 21



                                          A TRUE BILL


                                           /s/




UNITED STATESOF AMERICA

/s/ David B. Fein


UNITED STATESATTORNEY

 /s/ Jonathan N. Francis

   ATHAN N. FRANCIS
ASSISTANTUNITED STATESATTORNEY

 /s/ Eric J. Glover

ERIC J. GLOVER
ASSISTANTUNITED STATESATTORNEY




                                  -2r -
